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10    Attorneys for Defendant
      Experian Information Solutions, Inc.
11
12                      IN THE UNITED STATES DISTRICT COURT
13                          FOR THE DISTRICT OF ARIZONA

14
15    Michael Magee,                               Case No.: 2:17-cv-02548-SPL

16                      Plaintiff,                 DEFENDANT EXPERIAN
                                                   INFORMATION SOLUTIONS,
17             v.                                  INC.’S NOTICE OF
                                                   SETTLEMENT
18    National Credit Systems, Inc.; and
      Experian Information Solutions, Inc.,
19                                                 Complaint Filed: July 31, 2017
                        Defendants.
20
21             Plaintiff Michael Magee and Defendant Experian Information Solutions, Inc.,
22    (jointly, the “Parties”), by and through their undersigned counsel, hereby notify the
23    Court that the Parties have reached a settlement in the above-referenced matter
24    which will include the dismissal with prejudice of all claims against Defendant
25    Experian Information Solutions, Inc. The Parties are in the process of finalizing the
26    settlement, whereupon the Parties will move for dismissal with prejudice.
27    ///
28    ///
                                                             EXPERIAN’S NOTICE OF SETTLEMENT
     NAI-1503308204v1
                                                                        Case No. 2:17-cv-02548-SPL
          Case 2:17-cv-02548-SPL Document 34 Filed 01/02/18 Page 2 of 3



1              The Parties anticipate that the settlement and dismissal of claims against
2     Experian Information Solutions, Inc., will be finalized within the next sixty (60)
3     days.
4     Dated: January 2, 2018
5                                               By: /s/ Sheereen Javadizadeh
6                                                     Sheereen Javadizadeh
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7                                                     JONES DAY
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15
                                                      Attorneys for Defendant
16                                                    EXPERIAN INFORMATION
                                                      SOLUTIONS, INC.
17
18    Dated: January 2, 2018
19                                              By: /s/ David J. McGlothlin
                                                    David J. McGlothlin, Esq.
20                                                  Hyde & Swigart
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21                                                  Phoenix, AZ 85016
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                                                      Attorneys for Plaintiff
24                                                    MICHAEL MAGEE
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26
27
28
                                                                 EXPERIAN’S NOTICE OF SETTLEMENT
     NAI-1503308204v1
                                                                            Case No. 2:17-cv-02548-SPL
                                                -2-
          Case 2:17-cv-02548-SPL Document 34 Filed 01/02/18 Page 3 of 3



1                                 CERTIFICATE OF SERVICE
2              I hereby certify that on the 2nd day of January, 2018, I electronically
3     transmitted the foregoing document to the U.S. District Court Clerk’s Office using
4     the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the
5     following CM/ECF registrants:
6      David James McGlothlin                          Christopher Andrew Meyers
       Hyde & Swigart                                  Snell & Wilmer LLP - Phoenix, AZ
7      2633 E Indian School Rd., Ste. 460              1 Arizona Center
8      Phoenix, AZ 85016                               400 E Van Buren
       602-265-3332                                    Phoenix, AZ 85004-2202
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       Fax: 602-230-4482                               602-382-6000
10     Email: david@westcoastlitigation.com            Fax: 602-382-6070
       Attorneys for Plaintiff                         Email: cmeyers@swlaw.com
11
                                                       Attorneys for Equifax Information
12                                                     Services LLC
13
14             I declare that I am employed in the office of a member of the bar of this court
15    at whose direction the service was made.
16
17    s/ John M. Upton
         John M. Upton
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21
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24
25
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27
28
                                                                 EXPERIAN’S NOTICE OF SETTLEMENT
     NAI-1503308204v1
                                                                            Case No. 2:17-cv-02548-SPL
                                                 -3-
